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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                                           )
    In re:                                                                 )    Chapter 11
                                                                           )
    CHESAPEAKE ENERGY CORPORATION, et al.,1                                )    Case No. 20-33233 (DRJ)
                                                                           )
                                      Debtors.                             )    (Jointly Administered)
                                                                           )

     MOTION OF MADISON HENDRIX; TRACI HENDRIX, INDIVIDUALLY AND AS
             NEXT OF KIN TO THE ESTATE OF BRADLEY HENDRIX;
      NORMA LYN MALDONADO, INDIVIDUALLY AND AS REPRESENTATIVE
              OF THE ESTATE OF BRIAN AMADOR MALDONADO;
       AND ERIKA BEDDINGFIELD, INDIVIDUALLY AND AS NEXT FRIEND
          OF M.B., A MINOR, AND AS REPRESENTATIVE OF THE ESTATE
          OF WINDELL BEDDINGFIELD, DECEASED FOR RELIEF FROM
        STAY TO CONCLUDE PENDING TEXAS STATE COURT LITIGATION


             This is a motion for relief from the automatic stay. If it is granted, the movant
             may act outside of the bankruptcy process. If you do not want the stay lifted,
             immediately contact the moving party to settle. If you cannot settle, you must
             file a response and send a copy to the moving party at least 7 days before the
             hearing. If you cannot settle, you must attend the hearing. Evidence may be offered
             at the hearing, and the court may rule.

             Represented parties should act through their attorney.

             There will be a hearing on this matter on November 20, 2020 at 2:00 p.m. in
             Courtroom 400, 4th Floor, 515 Rusk, Houston, TX 77002.

TO THE HONORABLE DAVID R. JONES, CHIEF UNITED STATES BANKRUPTCY
JUDGE:

             Madison Hendrix (“Madison Hendrix”); Traci Hendrix (“Traci Hendrix”), individually

and as the personal representative of the Estate of Bradley Hendrix; Norma Lyn Maldonado



1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake
      Energy Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is
      6100 North Western Avenue, Oklahoma City, Oklahoma 73118.


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(“Maldonado”), individually and as representative of the Estate of Brian Amador Maldonado;

and Erika Beddingfield, individually, and as next friend of M.B., a minor, and as representative

of the Estate of Windell Beddingfield (“Beddingfield” and collectively with Madison Hendrix,

Traci Hendrix, and Maldonado “Movants”), creditors and parties in interest, file this motion (the

“Motion”) for relief from stay to conclude a Texas state lawsuits for personal injuries pending in

the District Court of Dallas County (the “Texas Court”) and to collect from the proceeds of any

available insurance policies on any judgment rendered. In support of the Motion, Movants state

as follows:

                                                 FACTS

                 1.         On or about January 29, 2020 Brad Hendrix, Brian Amador Maldonado,

and Windell Beddingfield suffered catastrophic injuries which occurred as a result of a blowout

on the land rig on which they were working at a drilling site which was owned, managed,

controlled, and or operated by the defendants in the Texas Actions (defined below), including

debtors Chesapeake Energy Corporation (“Chesapeake Energy”); Chesapeake Operating, L.L.C,

(“Chesapeake Operating”), and Wildhorse Resources Management Company, LLC (collectively

with Chesapeake Energy and Chesapeake Operating, the “Texas Actions Defendant Debtors”).

All three men ultimately died from their injuries.

                 2.         On May 14, 2020, Madison Hendrix filed a lawsuit (the “Madison

Hendrix Action”) in the District Court of Dallas County (the “Texas Court”) against certain of

the Texas Actions Defendant Debtors and two other non-Debtor defendants captioned Madison

Hendrix, Individually, and as the Personal Representative of the Estate of Brad Hendrix v.

Chesapeake Energy Corporation, CC Forbes LLC, Forbes Energy Services, LLC, Eagle PCO

LLC, Wildhorse Resources Management Company, LLC, Cause No. DC-20-06798.




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                 3.         On May 15, 2020, Traci Hendrix filed a lawsuit (the “Traci Hendrix

Action”) in the Texas Court against certain of the Texas Actions Defendant Debtors and five

other non-Debtor defendants captioned Traci Hendrix, Individually and as Next of Kin to the

Estate of Bradley Hendrix, Deceased v. Chesapeake Energy Corporation, Chesapeake Operating

LLC, Forbes Energy Services Delaware LLC, C.C. Forbes Energy Services Ltd., A&L Hot Oil

Service, Inc., and SDS Petroleum Consultants, LLC, Cause No. DC-20-06937.

                 4.         On May 14, 2020, Maldonado filed a lawsuit (the “Maldonado Action”) in

the Texas Court against certain of the Texas Actions Defendant Debtors and six other non-

Debtor defendants captioned, Norma Lyn Maldonado, Individually and As Representative of

Brian Amador Maldonado, Deceased v. Chesapeake Operating, L.L.C., Chesapeake Energy

Corporation, SDS Petroleum Consultants, L.L.C., A&L Hot Oil Service, Inc., Eagle PCO,

L.L.C., Forbes Energy Services, Ltd., C.C. Forbes, L.L.C., Cause No. DC-20-06809.

                 5.         On or about May 19, 2020, Beddingfield filed a lawsuit (collectively with

the Madison Hendrix Action, the Traci Hendrix Action, and the Maldonado Action, the “Texas

Actions”) in the Texas Court against certain of the Texas Actions Defendant Debtors and five

other non-Debtor defendants captioned Erika Beddingfield, Individually and As Next Friend of

M.B., a Minor, and As Representative of the Estate of Windell Beddingfield, Deceased, Cause

No. DC-20-07024.

                 6.         In the pending Texas Actions, Movants have claims (the “Pending

Claims”) against the Texas Actions Defendant Debtors and the other named defendants for

negligence, negligence per se, and gross negligence.

                 7.         Chesapeake Energy Corporation, Chesapeake Operating, LLC, and the

Movants have jointly filed a motion to transfer the Texas Actions, along with certain other




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actions, to a single pretrial court for coordinated pretrial proceedings in the action styled In re

Wendland Well Cases, pending with the Supreme Court of Texas Judicial Panel on Multidistrict

Litigation (the “Texas MDL Panel”), No. 20-0286 (the “MDL Proceeding”). The motion to

transfer is still pending.

                 8.         On June 28, 2020, Chesapeake Energy Corporation and its subsidiaries

(collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11 of the title 11 of

the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the

Southern District of Texas (the “Bankruptcy Court”). The Debtors filed a Notice of Suggestion

of Pendency of Bankruptcy and Automatic Stay in each of the Texas Actions on or about June

29, 2020.

                                         RELIEF REQUESTED

                 9.         By this Motion, the Movants respectfully requests that the Court enter an

order lifting the automatic stay to allow them to pursue the Pending Claims to final judgment,

including any appeals, in the Texas Actions and/or the MDL Proceeding.

                                               ARGUMENT

A.      The Standard on a Motion to Lift the Automatic Stay.

                 10.        Under the Bankruptcy Code, the filing of a bankruptcy petition

automatically stays “the commencement or continuation . . . of a judicial . . . action or

proceeding against the debtor that was or could have been commenced before the

commencement of the [bankruptcy case].” 11 U.S.C. § 362(a)(1).

                 11.        The Bankruptcy Code also provides for the automatic stay to be lifted

under certain circumstances. Section 362(d)(1) provides in relevant part:

                        On request of a party in interest and after notice and a
                 hearing, the court shall grant relief from the stay . . . by terminating,
                 annulling, modifying, or conditioning such stay – (1) for cause,


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                 including the lack of adequate protection of an interest in property
                 of such party in interest. 11 U.S.C. § 362(d)(1).

                 12.        The party seeking relief from the automatic stay bears the initial burden of

demonstrating cause for lifting the stay. In re Project Orange Assocs., LLC, 432 B.R. 89, 103

(Bankr. S.D.N.Y. 2010); Pursue Energy Corp. v. Miss. State Tax Comm'n, 338 B.R. 283, 291

(S.D. Miss. 2005) In re 234-6 West 22nd St. Corp., 214 B.R. 751, 756 (Bankr. S.D.N.Y. 1997);

                 13.        Section 362 does not define the “cause” that must be shown. In re Project

Orange Assocs., LLC, 432 B.R. at 103; In re 234-6 West 22nd St. Corp., 214 B.R. at 756.

“‘Cause’ is an intentionally broad and flexible concept which must be determined of a case-by-

case basis.” In re Project Orange Assocs., 432 B.R. at 103 (quoting In re Brown, 311 B.R. 409,

412-13 (E.D. Pa. 2004)). The legislative history of Section 362:

                 reveals that Congress intended “that one of the factors to consider
                 when determining whether to modify the stay is whether doing so
                 would permit pending litigation involving the debtor to continue in
                 a nonbankruptcy forum,” as “[i]t will often be more appropriate to
                 permit proceedings to continue in their place of origin, where no
                 great prejudice to the bankruptcy estate would result, in order to
                 leave the parties to their chosen forum and to relieve the bankruptcy
                 court from duties that may be handled elsewhere.”

Id. (quoting H.R. Rep. No. 95-595, at 341 (1977), U.S. Code Cong. & Admin. News 1978, at

5963, 6297, S. Rep. No. 95-989, at 50 (1978), U.S. Code. Cong. & Admin. News 1978, at 5787,

5836).

                 14.        Once the moving party establishes a prima facie case for cause, the party

opposing relief from the stay has the burden of proof to show that it is entitled to a continuation

of the stay. 11 U.S.C. § 362(g)(1) (the party opposing relief from the stay has burden of proof on

all issues other than debtor’s equity in property); see also In re Project Orange Assocs., LLC,

432 B.R. at 103; In re 234-6 West 22nd St. Corp., 214 B.R. at 756. The reason for placing the

burden of proof on the debtor “is that the automatic stay is intended only to shift the initiative to


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the creditor to bring the issue before the Bankruptcy Court, and not to create any new right in the

debtor to stay proceedings.” In re 234-6 West 22nd St. Corp., 214 B.R. at 756 (citing Terry v.

Johnson (In re Terry)), 12 B.R. 578, 581 (Bankr. E.D. Wis. 1981). The debtor’s burden is not

only to come forward with evidence, but also the burden of ultimate persuasion. Id.

Accordingly, as long as a party makes a prima facie showing of cause, the debtor bears the

burden of proof to show why the stay should not be lifted.

B.      This Court Cannot Enter a Final Judgment On
        Movants’ Claims Pending In the Texas Action

                 15.        The Bankruptcy Court cannot enter a final judgment on Movants’ claims

pending in the Texas Actions because the liquidation and estimation of personal injury tort

claims are expressly excluded from the definition of “core” bankruptcy proceedings. 28 U.S.C.

§157(b)(2)(B). Absent consent, bankruptcy courts in non-core proceedings may only submit

proposed findings of fact and conclusions of law, which the district courts review de novo.

Wellness Int’l. Network Ltd. v. Sharif, 575 U.S. 665, 135 S.Ct. 1932, 1940 (2015). None of the

parties to the Texas Actions or the MDL Proceeding have consented to the Bankruptcy Court

entering final orders on the liquidation or estimation of Movant’s claims.

C.      Cause Exists To Lift the Stay To Allow the
        Movant To Pursue Their Claims To Final Judgment

                 16.        Because Section 362 does not offer guidance as to what constitutes

“cause,” courts must determine what constitutes cause on a case-by-case basis. Reitnauer v. Tex.

Exotic Feline Found., Inc. (In re Reitnauer), 152 F.3d 341, 343 n. 4 (5th Cir.1998).

                 17.        In the Fifth Circuit, bankruptcy courts have considered various factors in

determining whether it is appropriate in a particular circumstance to grant relief from the stay to

permit an action to proceed in another jurisdiction. Such considerations include:




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                            (1) whether relief would result in a partial or complete resolution of the

                            issues;

                            (2) lack of any connection with or interference with the bankruptcy case;

                            (3) whether the other proceeding involves the debtor as a fiduciary;

                            (4) whether a specialized tribunal with the necessary expertise has been

                            established to hear the cause of action;

                            (5) whether the debtor’s insurer has assumed full responsibility for

                            defending it;

                            (6) whether the action primarily involves third parties;

                            (7) whether litigation in another forum would prejudice the interests of

                            other creditors;

                            (8) whether the judgment claim arising from the other action is subject to

                            equitable subordination;

                            (9) whether movant’s success in the other proceeding would result in a

                            judicial lien avoidable by the debtor;

                            (10) the interests of judicial economy and the expeditious and economical

                            resolution of litigation;

                            (11) whether the parties are ready for trial in the other proceeding; and

                            (12) impact of the stay on the parties and balance of harms.

In re Xenon Anesthesia of Tex., PLLC, 510 B.R. 106, 112 (Bankr. S.D. Tex. 2014) (Paul, J.); see

also In re Mosher, 578 B.R. 765, 772 (Bankr. S.D. Tex. 2017) (Bohm, J.); Pursue Energy Corp.

v. Miss. State Tax Comm’n, 338 B.R. 283, 286 (S.D. Miss. 2005); In re Henderson, 352 B.R.

439, 442 (Bankr. N.D.Tex. 2006); In re Fowler, 259 B.R. 856, 858 (Bankr. E.D. Tex. 2001); In




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re U.S. Brass Corp., 176 B.R. 11, 13 (Bankr. E.D.Tex. 1994). Not all twelve of those factors are

relevant in every case, and the Court need not give equal weight to each factor. Mazzeo v.

Lenhart (In re Mazzeo), 167 F.3d 139, 143 (2d Cir. 1999); In re Xenon Anesthesia of Tex., PLLC,

510 B.R. at 112; Mosher, 578 B.R. at 773. Further, the decision to lift the stay may be upheld on

judicial economy grounds alone. See In re U.S. Brass Corp., 176 B.R. at 13 (Bankr. E.D. Tex.

1994), citing Parkerland Packing Co. v. Griffith Brokerage Co. (In re Kemble), 776 F.2d 802,

807 (9th Cir. 1985).

                 18.        Application of these factors here dictates that the stay be lifted.

        (1)      Whether relief would result in a partial or complete resolution of the issues.

                 19.        As explained above, the Bankruptcy Court lacks authority to enter final

orders liquidating or even estimating the Pending Claims. Therefore, it will be necessary for the

Pending Claims to be liquidated in another forum, and lifting the stay would result in the prompt

resolution of the Pending Claims in a Texas state court.

                 20.        In addition, lifting the stay would allow complete liquidation of the

Pending Claims against the Texas Actions Defendant Debtors (and their non-Debtor co-

defendants), and to the extent there are insurance proceeds available, could allow complete

satisfaction of the Pending Claims against the Debtors solely from insurance proceeds and

recovery from the non-Debtor defendants. If there are any amounts awarded to the Movant

against the Texas Actions Defendant Debtors that are not satisfied by insurance proceeds, the

Movant acknowledges that those amounts would constitute an unsecured prepetition claim

against the Debtors subject to all applicable terms, restrictions, and limitations of the automatic

stay, any confirmed chapter 11 plan, and any bankruptcy discharge injunction. This factor

weighs in favor of lifting the stay.




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        (2)      Lack of any connection with or interference with the bankruptcy case.

                 21.        The Texas Actions have no connection with the Debtors’ bankruptcy

cases, except that the Pending Claims can be liquidated there and, to the extent that those claims

are not fully satisfied by insurance, they would be treated as general unsecured pre-petition

claims in the in the Debtors’ bankruptcy cases.

                 22.        The litigation of the Texas Actions to conclusion will not interfere with

the Debtors’ bankruptcy cases. Rather, it will complement the bankruptcy cases by providing a

venue in which the Pending Claims can be liquidated (which they cannot be in the Bankruptcy

Court). Adjudicating the Pending Claims in the federal district court for the Southern District of

Texas rather than in the Texas Court in which they are currently pending would provide no

advantage to the administration of the Debtors’ bankruptcy cases. This factor weighs in favor of

lifting the stay.

        (3)      Whether the other proceeding involves the debtor as a fiduciary.

                 23.        The Debtors are not involved as fiduciaries in the Texas Action. This

factor therefore supports lifting the stay.

        (4)      Whether a specialized tribunal with the necessary expertise has been
                 established to hear the cause of action.

                 24.        The Texas state courts routinely adjudicate negligence claims such as

these. The courts have the necessary expertise to properly adjudicate the Pending Claims fairly

and efficiently, and each has the necessary jurisdiction and authority to do so. Because the

Pending Claims will have to be liquidated in some forum other than this Court, the most logical

and efficient procedure is to allow the Texas Actions to proceed in a Texas state court. This

factor weighs in favor of lifting the stay.




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        (5)      Whether the debtor’s insurer has assumed full responsibility for defending
                 the action.

                 25.        Upon information and belief, certain of the Debtors’ insurers have

accepted responsibility for defending the Texas Actions Defendant Debtors in the Texas Actions.

Moreover, although Movants understand that one of the Debtors’ insurers has denied

responsibility for defending the Texas Actions, upon information and belief, it is the Debtors’

position that that insurer is in fact responsible, and Movant is advised that the Debtors intend to

commence an adversary proceeding against that insurer seeking a judgment that pursuant to the

applicable policies, the insurer is required to pay the relevant attorney’s fees and legal expenses

incurred in the Texas Actions and otherwise comply with its indemnity obligations. This factor

therefore weighs in favor of lifting the stay.

        (6)      Whether the action primarily involves third parties.

                 26.        There are multiple other defendants in the Texas Actions in addition to the

Texas Actions Defendant Debtors. Because the Texas Actions involve non-debtors in addition to

the Texas Actions Defendant Debtors, this factor weighs in favor of lifting the stay so that the

Texas Actions may proceed against all of the Defendants that are named in that proceeding.

        (7)      Whether litigation in another forum would prejudice the interests of other
                 creditors.

                 27.        As discussed above, because the Pending Claims are personal injury and

wrongful death claims, they will have to be liquidated in a forum other than the Bankruptcy

Court under any circumstances. Accordingly, there is no way in which lifting the stay to permit

adjudication of the Pending Claims in the Texas Court would prejudice the interest of the other

creditors of the Debtors. To the contrary, it would benefit the other creditors by providing a

venue in which the claim could be liquidated.




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                 28.        Moreover, upon information and belief, the Debtors have significant

insurance coverage. In the event that there is an amount against the Debtors awarded to Movants

that is not satisfied by insurance proceeds, Movants acknowledge that that amount would simply

be a liquidated unsecured prepetition claim against the Debtors’ estates. Allowing the Movants

to liquidate their unsecured prepetition claims against the Debtors and collect available proceeds

from insurance companies will not prejudice the interests of any other creditors.

                 29.        Finally, if the Texas Actions proceed, the non-Debtor defendants may be

found liable for all or part of the amounts claimed against the Texas Actions Defendant Debtors,

thereby decreasing potential liability of the Debtors to Movants. This factor weighs in favor of

lifting the stay.

        (8)      Whether the judgment claim arising from the other action is subject to
                 equitable subordination.

                 30.        None of the Pending Claims are subject to equitable subordination.

Therefore this factor weighs in favor of lifting the stay.

        (9)      Whether movant’s success in the other proceeding would result in a judicial
                 lien avoidable by the debtor.

                 31.        None of the Pending Claims would result in a lien of any kind. This factor

weighs in favor of lifting the stay.

        (10)     The interests of judicial economy and the expeditious and economical
                 resolution of litigation.

                 32.        The Pending Claims will have to be liquidated in some forum other than

the Bankruptcy Court. The interests of judicial economy and the expeditious and economical

resolution of the Pending Claims will all be served by allowing Movants to continue pursuing

those claims in the Texas Court where they are currently pending or before the Court selected by

the Texas MDL Panel. This factor supports lifting the stay.



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        (11)     Whether the parties are ready for trial in the other proceeding.

                 33.        The Texas Court has not set a trial date, so this factor does not apply.

        (12)     Impact of the stay on the parties and balance of harms.

                 34.        As established above in the discussion of the second factor, granting the

Movants’ request to lift the stay will not interfere with the Debtors’ bankruptcy cases. The

Pending Claims will have to be liquidated in a non-bankruptcy forum under any circumstance,

and Movants believe the Debtors have enough insurance coverage to satisfy the Pending Claims.

Thus, the Debtors will not suffer any harm from having the stay lifted.

                 35.        On the other hand, Movants will suffer significant harm if the stay remains

in effect as a result of increased legal expenses, the impairment of her ability to conduct effective

discovery, and delay in recovering compensation for the Pending Claims.

                 36.        First, Movant will incur increased legal expenses if they have to start over

by pursuing the claims in the Federal Court for the Southern District of Texas rather than in the

Texas Court in which they are currently pending. Second, the delay caused by maintaining the

stay in effect may impair Movants’ ability to conduct effective discovery due to the potential for

fading memories of witnesses, witnesses moving away, witnesses possibly passing away, and

having other evidence possibly lost, destroyed, or altered. See Banque de Paris et des Pay-Bas

(Suisse S.A. v. Arhens (In re Arhens), 120 B.R. 852, 854 (Bankr. S.D. Tex. 1990) (Clark, J.) (in

the context of dismissing an adversary proceeding for want of prosecution, Judge Clark

discussed the presumptions that witnesses’ memories fade and that witnesses may become

unavailable through death, distance, or otherwise with the passage of time); United States v.

Hastings, 847 F.2d 920, 929 (1st Cir.), cert. denied 488 U.S. 925 (1988) (delay prejudices parties

because witnesses move or die, memories grow dim, and legal costs escalate); Zagano v.

Fordham Univ., 900 F.2d 12, 14 (2nd Cir.), cert. denied, 498 U.S. 899 (1990) (agreeing with trial


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judge that delays in proceedings might result in further loss of pertinent testimony). Third,

leaving the stay in effect will delay Movants’ ability to recover any insurance proceeds that are

available to compensate them for the Pending Claims. This factor weighs in favor of lifting the

stay.

                                            CONCLUSION

         For the reasons set forth above, Movants respectfully request that the Court issue an order

(a) lifting the automatic stay to allow the Movants to pursue the Pending Claims to final

judgment, including any appeals, in the Texas Actions and to collect from the proceeds of any

available insurance policies on any judgment rendered; and (b) granting the Movants such other

and further relief as is just and proper.

Dated: October 27, 2020


                                              By: /s/ Noah M. Wexler
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                              CERTIFICATE OF CONFERENCE

        I hereby certify that I conferred with the Debtors’ counsel concerning the relief requested
in this Motion. Despite diligent efforts, I was unable to come to a negotiated resolution of this
matter. Specifically I conferred/attempted to confer with the Debtors’ counsel of record as
follows:

    •    Since July, 2020, I have had multiple teleconferences and email exchanges with the
         Debtors’ counsel of record regarding the relief requested in the Motion. Specifically, I
         attempted to confer with the Debtors’ counsel of record as follows:

    •    On or about July 17, 2020, I spoke to Alexandra Schwarzman (“Schwarzman”) of
         Kirkland & Ellis LLP, counsel for the Debtors, regarding a consensual stipulation
         regarding the lifting of the automatic stay, at which time I was advised that the Debtors
         agreed in principle to consensual stay relief.

    •    On or about July 20, 2020, Schwarzman forwarded to me a draft stipulation. Thereafter,
         we exchanged multiple drafts of and comments to the stipulation.

    •     Although in October, 2020, we exchanged further drafts of the proposed stipulation,
         including, most recently, the draft that I sent to counsel for the Debtors on or about
         October 16, 2020, the parties have not been able to come to a resolution of this matter.
         Therefore, this Motion is submitted to the Court for ruling.


                                                      /s/Laura Davis Jones
                                                        Laura Davis Jones




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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served
concurrently with filing (a) by ECF upon all persons who have filed ECF appearances in this
case, including counsel of record for the Debtors, counsel of record for the Official
Committee of Unsecured Creditors, and all parties requesting notice.


                                                   /s/ Noah M. Wexler
                                                   Noah M. Wexler




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